Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 1 of 7 Page|D #: 191

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

 

 

IN RE: CIVIL NO. ll-00406 REJ/RLP
HAWAII FEDERAL ASBESTOS (Toxic Tort / Asbestos Personal Injury)
CASES
DECLARATI()N OF COUNSEL

This Docurnent Applies To:
ROGER E. NELSON and ROSALIE
J. NELSON,

Plaintiffs,

vs.

CRANE COMPANY, etc., et al.,

Defendants.

DECLARATION OF COUNSEL

 

l, ILANA K. WAXMAN, hereby declare pursuant to Circuit Rule

7(g), Rules of the Circuit Court of the State of Hawaii, as follows:

l. l have personal knowledge of the following facts, and l am

competent to testify as follows.

2. l arn one of the attorneys for Plaintiffs herein and make this

declaration upon personal knowledge unless otherwise indicated

3. Attached hereto as Exhibit l is a true and correct copy of the

Transcript of Proceedings, Chang v. Combustz'on Engineering, June l4, 2002.

Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 2 of 7 Page|D #: 192

4. Attached hereto as EXhibit 2 is a true and correct copy of the

 

Complaint, filed May l7, ZOll, in Roger E. Nelson, et al. V. Crane Company, et al.,
ll-l-()998-O5 (RAN), Circuit Court of the First Circuit, State of Hawaii.

5. Attached hereto as Exhibit 3 is a true and correct copy of
Barrett v. CLA- VAL Co., Slip Opinion, CVO7-7774 PSG (C.D. Cal. 2008).

6. Attached hereto as Exhibit 4 is a true and correct copy of
Scarbrough v. General Electric Co., Slip Opinion, CV 07-ll92-RGK (C.D. Cal.
April l3, 2007).

7. Attached hereto as EXhibit 5 is a true and correct copy of the
1956 edition of the Manufacturing Chemists’ Association publication WARNING
LABELSI A GUIDE FGR THE PREPARATION OF WARNING LABELS FOR HAZARDOUS
CHEMICALS, MANUAL L-l (the “MANUAL L- 1 ”).

8. Attached hereto as Exhibit 6 are true and correct copies of
excerpts of the NIOSH POCKET GUIDE To CHEMICAL HAZARDS published by the
U.S. Department of Health and Human Services, September, 1985.

9. Attached hereto as Exhibit 7 is a true and correct copy of the
California State EPA List “Proposition 65 List of Chemicals.”

lO. Attached hereto as EXhibit 8 is a true and correct copy of an
excerpted portion of MIL-STD-lZQB (l957), the military standard for “Military

Standard: Marking For Shipment and Storage.”

Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 3 of 7 Page|D #: 193

ll. Attached hereto as Exhibit 9 is a true and correct copy of an
excerpted portion of MlL-STD 129C (1960), the military standard for “Marking
for Shipment and Storage.”

lZ. Attached hereto as Exhibit lO is a true and correct copy of MIL-
P-l5024D, the military specification for “Plates, Tags and Bands for Identification
of Equipment.”

13. Attached hereto as Exhibit ll is a true and correct copy of an
excerpted portion of MIL-P-l6789B, the military specification for “Preservation,
Packaging, Packing and Marking of Pumps.”

l4. Attached hereto as Exhibit l2 is a true and correct copy of an
excerpted portion of MIL-T-l76OOA, the military specification for “Turbines,
Steam, Propulsion (F or Naval Shipboard Use).”

15 . Attached hereto as Exhibit 13 is a true and correct copy of an
excerpted portion of MlL-STD-l34lA, the military standard for “Symbols for
Packages And Containers For Hazardous lndustrial Chernicals And Materials.”

l6. Attached hereto as Exhibit 14 is a true and correct copy of
Federal Standard 313, Symbols for Packages Ana’ Containers For Hazardous
Ina'ustrz`al Chemz'cals And Materials.

17 . Attached hereto as Exhibit 15 is a true and correct copy of the

deposition transcript ofAdam Martin taken January 28, 1983.

Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 4 of 7 Page|D #: 194

18. Attached hereto as Exhibit 16 is a true and correct copy of an
excerpted portion of the Discovery Responses in GAF v. United States.

l9. Attached hereto as Exhibit l7 is a true and correct copy of the
UNiFoRi\/i LABELING PRoGRAM ~ NAVY, SECNAV 51 60. 8, 9/24/56.

20. Attached hereto as Exhibit 18 is a true and correct copy of an
excerpted portion of the Dept. of the Navy, Supply Systems Cmd, NAVSUP Pub.
45 00, Consolidated Hazam'ous Item List (CHIL) (1969).

21. Attached hereto as Exhibit 19 is a true and correct copy of an
excerpted portion of the Dept. of the Navy, Supply Systems Cmd, NAVSUP Pub.
4500, Consolz'a’ated Hazardous Item List (CHIL) (1977).

22. Attached hereto as Exhibit 20 is a true and correct copy of an
excerpted portion of the deposition transcript of David Sargent, dated April 29,
2009.

23. Attached hereto as Exhibit 21 is a true and correct copy of MIL-
M-1507 lC, the military specification for “Manuals, Equipment, and Systems.”

24. Attached hereto as Exhibit 22 is a true and correct copy of MIL-
M-15071D, the military specification for “l\/lanual, Service (Instruction Books) for
Shipboard Electrical and Mechanical Equipment.”

25. Attached hereto as Exhibit 23 is a true and correct copy of MIL-

M-l507 lE, the military specification for “l\/lanuals, Equiprnent and Systems.”

Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 5 of 7 Page|D #: 195

26. Attached hereto as Exhibit 24 is a true and correct copy of an
excerpted portion of MIL-M-38784, dated January l, 1968, the military
specification for “Manuals, Technical: General Requirements for Preparation of.”

27. Attached hereto as Exhibit 25 is a true and correct copy of a
Warren Pumps technical manual for Main Condenser Circulating Pumps on DD-
692 class Vessels, which was produced by Warren Pumps in discovery.

28. Attached hereto as Exhibit 26 is a true and correct copy of a
Warren Pumps technical manual for Main Condenser Circulating Pumps on DD-
445 class Vessels. This is a photocopy of the original manual found at the library
of U.S.S. Kidd (DD-66l) ship museum in Baton Rouge, Louisiana.

29. Attached hereto as Exhibit 27 is a true and correct copy of an
excerpted portion of a GE Manual for Ship Service Generator Set on DD-692 class
Vessels.

30. Attached hereto as Exhibit 28 are true and correct copies of an
excerpted portion of a Buffalo Pumps lnstruction book for Main Feed Pumps on
DD-445 class destroyers. This is a photocopy of the original manual found at the
library of U.S.S. Cassin Young (DD-793) ship museum in Boston, Massachusetts.

31. Attached hereto as Exhibit 29 is a true and correct copy of an

excerpted portion of a technical manual for a Troy Laundry Machinery l7” Minute

Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 6 of 7 Page|D #: 196

\

Man Extractor. This is a photocopy of the original manual found at the library of
U.S.S. Kidd (DD-66l) ship museum in Baton Rouge, Louisiana.

32. Attached hereto as Exhibit 30 is a true and correct copy of an
excerpted portion of the Fairbanks-Morse lnstruction Book for Diesel Engine
Generating Set NAVSHIPS 361-1308.

33. Attached hereto as Exhibit 31 is a true and correct copy of an
excerpted portion of the Foster Wheeler 1976 Technical Manual for Main Boilers
on the USS Kitty Hawk CV-63.

34. Attached hereto as Exhibit 32 is a true and correct copy of a
letter from Johns-Manville Corp. to Owens-Corning Fiberglas Corp. dated
8/18/1964.

35. Attached hereto as Exhibit 33 is a true and correct copy of a
Johns-l\/lanville Internal Correspondence rex Warning Labels, 12/3/1975.

36. Attached hereto as Exhibit 34 is a true and correct copy of a
Crane Co. drawing for an Asbestos Cautionary Tag that was produced by Crane
Co. in discovery

37. Attached hereto as Exhibit 35 is a true and correct copy of an

excerpted portion of the deposition transcript of Harry Farley, dated May 18, 2004.

Case 1:11-cv-OO406-LEK-RLP Document 8-3 Filed 06/30/11 Page 7 of 7 Page|D #: 197

38. Attached hereto as Exhibit 36 is a true and correct copy of a
memorandum from Harry Farley re “Warning Tag for Valves Containing
Asbestos,” dated March 13, 1985, which was produced by Crane Co. in discovery

39. Attached hereto as Exhibit 37 is a true and correct copy of an
excerpted portion of the deposition transcript of Martin Kraft, dated March 15,
2006.

40. Attached hereto as Exhibit 38 is a true and correct copy of an
excerpted portion of the deposition transcript of Martin Kraft, dated Novembei' 30,
2006

1 declare under penalty of perjury that the foregoing is true and correct
to the best of my knowledge and belief.

DATED: Honolulu, Hawaii, June 30 2011.

MAN/(t/K/. waMAN

 

 

